Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 1 of 18 PageID #: 86




    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK



    RICHARD MARTA,
                                                       Civil Action No. 19-cv-1533-DLI-ST
                                 Plaintiff,

                  V                                    ANSWER TO FIRST
                                                       AMENDED COMPLAINT
    HIL & COMPANY LLC,                                 AND COUNTERCTAIM

                                 Defendant.




            Defendant Hil & Company LLC ("Hil & Co." or "Defendant"), by and through
    its attorneys, Wan Law Group, PLLC for its answer to Plaintiff Richard Marta's
    ("Marta" or "Plaintiff') Complaint, hereby states as follows:


       1.      The allegations of paragraph 1 state a conclusion of law and therefore no

               response is required.

       2.      The allegations of paragraph 2 state a conclusion of law and therefore no

               response is required.

                                 JURISDICTION AND VENUE

       3       The allegations of paragraph 3 state a conclusion of law and therefore no

               response is required

       4.      The allegations of paragraph 3 state a conclusion of law and therefore no

               response is required.

       5       Defendant admits that it is a domestic limited liability company based in

               Suffolk County, New York, and that it does business in this jurisdictional
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 2 of 18 PageID #: 87




             district and elsewhere. Defendant specifically denies any allegation that

             it committed acts of infringement or caused injury to plaintiff.

       6.    The allegations of paragraph 3 state a conclusion of law and therefore no

             response is required.

                                           THE PARTIES

       7     Upon information and belief, Defendant admits the allegation of

             paragraph 7.

       B.    Upon information and belief,, Defendant admits the allegation of

             paragraph   B.


                                      STATEMENT OF FACTS

       9     The allegations of paragraph 9 state a conclusion of law and therefore no

             response is required.

       10.   Defendant lacks knowledge or information sufficient to admit or deny the

             allegations concerning Marta's creation of the "Best Match" software and

             on that basis, denies same and demands strict proof thereof. Defendant

             denies all remaining allegations in paragraph 10.

       tl.   Upon information and belief, Defendant admits the allegation of

             paragraph L1.

       72.   Upon information and belief, Defendant admits the allegation of

             paragraph L2

       73    Upon information and belief, Defendant admits the allegation of

             paragraph L3
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 3 of 18 PageID #: 88




       t4.   Upon information and beliel Defendant admits the allegation of

             paragraph L4

       15.   Defendant lacks knowledge or information sufficient to admit or deny the

             allegations of paragraph 15, and on that basis denies same and demands

             strict proofthereof.

       16.   Defendant lacks knowledge or information sufficient to admit or deny the

             allegations of paragraph 16, and on that basis denies same and demands

             strict proofthereof,

       17    Defendant lacks knowledge or information sufficient to admit or deny the

             allegations of paragraph L7, and on that basis denies same and demands

             strict proofthereof.

       18.   Upon information and belief, Defendant admits the allegation of

             paragraph 18.

       79    Upon information and belief, Defendant admits the allegation of

             paragraph L9

       20    Upon information and beliel Defendant admits the allegations of

             paragraph 20, however Defendant states that these statements are

             irrelevant to the rights of the parties.

       2L,   Admit

       ))    Admit

       23    Defendant admits that on or about February 18, 2008, Mr. Hil gave Mr.

             Marta a check for $25,000.00, but denies all other allegations contained in

             paragraph 23 and demands strict proof of same.
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 4 of 18 PageID #: 89




        24   Defendant denies the allegations of paragraph 24, as Mr. Marta precisely

             and thoroughly sold the Best Match software to Hil & Company, as

             memorialized by an agreement executed by Mr. Marta and Mr. Hil on

             February 18, 2008, a copy of which is annexed hereto as Exhibit A.

       25    Upon information and belief, Defendant admits the allegations of

             paragraph 25.

       26.   Upon information and belief, Defendant admits the allegations of

             paragraph 26.

       27    Upon information and belief, Defendant denies the allegations of

             paragraph?T.

       28.   Upon information and belief, Defendant admits the allegations of

             paragraph 28.

       29.   Defendant admits that Exhibit A to the complaint appears to be a true and

             correct copy ofthe Letter ofEngagement dated April 12, Z}L1.

       30    Defendant admits that the Letter of Engagement contains the language

             quoted in paragraph 30.

       31.   Defendant admits that the Letter of Engagement contains the language

             quoted in paragraph 31.

       32.   The allegations of paragraph 32 state a conclusion of law and therefore

             no response is required

       33    The allegations of paragraph 33 state a conclusion of law and therefore

             no response is required
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 5 of 18 PageID #: 90




       34,   Defendant admits the Stipulation contains the language quoted in

             paragraph 34.

       35.   Defendant admits that Exhibit B to the Complaint appears to be a copy of

             the Stipulation.

       36.   Upon information and belief, Defendant denies the allegations of

             paragraph 36, as Mr. Marta owns no rights to the Best Match Software,

             due to the sale of same on February 18, 2008 and the fact that any

             derivative works were made as a work for hire.

       37    Defendant admits that it has continued to generate revenue using the

             Best Match, but denies the allegation that      it has "no right to continue

             using the Best Match software". The remaining allegations of paragraph

             37 state a conclusion of law and therefore no response is required

       38.   The allegations of paragraph 38 state a conclusion of law and therefore

             no response is required.

                                                  COUNT 1


       39    Defendant repeats its answers to Paragraphs 1 through 38 of the Complaint as

             if fully   set forth herein.

       40    Paragraph 40 contains a legal conclusion for which no answer is required

             and on such basis Defendant denies all allegations and inferences contained in

             Paragraph 40 and demands strict proof thereof

       4I    Paragraph 41. contains a legal conclusion for which no answer is required

             and on such basis Defendant denies all allegations and inferences contained in

             Paragraph     4l anddemands    strictproof thereof
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 6 of 18 PageID #: 91




        42.     Paragraph 42 contains a legal conclusion for which no answer is required

                and on such basis Defendant denies all allegations and inferences contained in

               Paragraph 42 and demands strict proof thereof

        43.    Paragraph 43 contains a legal conclusion for which no answer is required

               and on such basis Defendant denies all allegations and inferences contained in

               Paragraph 43 and demands strict proof thereof

        44.    Paragraph 44 contains a legal conclusion for which no answer is required

               and on such basis Defendant denies all allegations and inferences contained    in

               Paragraph 44 and demands strict proof thereof

        45.    Paragraph 45 contains a legal conclusion for which no answer is required

               and on such basis Defendant denies all allegations and inferences contained    in

               Paragraph 45 and demands strict proof thereof

        46'    Paragraph 46 contains a legal conclusion for which no answer is required

               and on such basis Defendant denies all allegations and inferences contained   in

               Paragraph 46 and demands strict proof thereof

        47.    Paragraph 47 contains a legal conclusion for which no answer is required

               and on such basis Defendant denies all allegations and inferences contained in

               Paragraph 47 and demands strict proof thereof


                                                  COUNT 2
        48.    Defendant repeats its answers to Paragraphs   I   through 47 of the Complaint as

               if fully   set forth herein.

                                              AFFIRMATIVE DEFENSES

           As and for its affirmative defenses, Defendant alleges and shows the court as

    follows:
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 7 of 18 PageID #: 92




                                FIRST AFFIRMATIVE DEFENSE

       49.   The First Amended Complaint in whole or in part, fails to state a claim

             upon which relief may be granted.

                              SECOND AFFIRMATIVE DEFENSE

       50    Plaintiff did not register the work within 5 years of the first publication of

             the worh and thus the certificate does not constitute prima facie evidence

             of the validity of the copyright or the facts in the certificate.

                           THIRD AFFIRMATIVE DEFENSE

       51    Plaintiff assigned Defendant all rights in the "Best Match" software,

             pursuant to a Services Agreement dated February        1-8,   2008,

       52    A true and correct copy    ofthe Services Agreement dated February 18,

             2008 is attached hereto as Exhibit A.

                            FOURTH AFFIRMATIVE DEFENSE

       53    Plaintiff committed fraud on the Copyright oftice in his application to

             register the copyright in the "Best Match" software. Plaintiff claimed

             ownership of the work, while knowing he had assigned all rights in the

             work to Defendant,

                              FIFTH AFFIRMATIVE DEFENSE

       54.   Plaintiff is estopped from enforcing any applicable copyright based on his

             conduct and representations which reasonably led Defendant to believe

             that it would not be sued for copyright infringement based on the

             Services Agreement, the Stipulation and the Letter of Engagement and
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 8 of 18 PageID #: 93




                    Plaintiffs conduct and representations from 2008 through            201_g, on

                    which Defendant relied upon to its detriment.

                                     SIXTH AFFIRMATIVE DEFENSE

         55.        Plaintiffs copyright claims are barred by acquiescence, laches, implied

                    consent, and / or waiver.

         56.        Defendant reserves the right to assert additional affirmative defenses that

                    become known during discovery and/or trial.

                                           COUNTERCLAIMS

                 Defendant   Hil & company, LLC ("Defendant" or "counterclaim-plaintiff,)

     assert the    following counterclaims against Plaintiff Richard Marta ("Plaintiff'or

     "C ounterclaim-D efendant")     :



                                                 PARTIES

        57   '      Counterclaim Plaintiff Hil & Co. is a New York limited liability company

                    based in Suffolk County, New    York. Hil & Co. is a software development

                    and data processing company.

        58.         Counterclaim Defendant Richard Marta is an individual residing in Queens

                    County, New    York. Upon information     and belief,   Mr. Marta is a software

                    developer and programmer. Mr. Marta was employed by counterclaim

                    Plaintiff from on or about May 1, 2008 through September 24,2019.

                                         JURISDICTION AND VENUE

        59.         These counterclaims arise under the copyright laws of the United States as

                   enacted under   Title l7 of the United   States Code and declaratory judgment act

                   under 28 U.S.C. 5S 2201-2202.
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 9 of 18 PageID #: 94




       60    The jurisdiction of this Court over the copyright action and counterclaims is

             properunder 17 U.S.C. $$ 101 et seq., and28 USC $$ 1331 and 1338(a)

       6l    Venue is proper in this district pursuant to 28 USC $$ 1391(b) and (c), and or

             1400(a).

                                   STATEMENT OF FACTS

       62    1n2007, Mr. Garet    Hil   approached Mr. Marta about software projects.

       63    One such project was a software for matching individuals in need of a kidney

             transplant with willing and compatible kidney donors using a "NEAD chain",

             which Mr. Marta would call "Best Match".

       64    In February 2008, Marta entered into the Services Agreement with Hil & Co..

             whereby Marta transferred "any and all rights in the software currently known

             as   "BEST MATCH" (hereinafter referred to      as !'the Software"),   ... to

             Purchaser".

       65    The Services Agrccmcnt statcs that Marta "cxclusivcly, irrcvocably and in

             perpetuity transfers and assigns to Purchaser. . .. An undivided One Hundred

             Percent (100%) interest in and to the copyright, trademark, and/or intellectual

             property rights of the Software..."

       66    The Services Agreement also states that Marta "duly acknowledges that said

             software is considered a work-for-hire, within the meaning of the United

             States Copyright   Act."

       67    While the Services Agreement identifies the Purchaser as Kidneylife LLC, it

             was signed by   Hil & Co.

       68    Pursuant to the Services Agreement, Hil and Co. paid Mr. Marta $25,000.00.
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 10 of 18 PageID #: 95




        69'    Pursuant to an Assignment Agreement dated          April r2,200g,Hil & co.

               purchased all right and title to BEST MATCH from          Kidneylife LLC.

        70.    A true copy of the April 12,2009 Assignment Agreement is attached hereto            as

               Exhibit B.

        71.    In 2018, Mr. Marta applied for a copyright registration in the Best Match

               software with the United States Copyright Office.

        72.   As part of the copyright office application, one must check a yes or No

              option to the question as to whether the subject is a work for hire.

        73.   Upon information and belief, Mr. Marta checked the box claiming that the

              BEST MATCH was not a work for hire, despite the explicit terms of the

              Service Agreement.

              COUNT I : DECLARATORY RELIEF' REGARDING COPYRIGHT

                                              OWNERSHIP

        74.   Based on   Plaintiff s filing of this suit and Defendant's Affirmative Defenses,

              an actual controversy has arisen and now exists between Counterclaim

              Plaintiff and Marta    as to the proper ownership    of the Best Match software, as

              to the validity of   Plaintifls registration   and as to whether Counterclaim

              Plaintiff s infringe Marta's copyrights, if any.

        75.   Pursuant to the Federal Declaratory Judgment         Act,28usc    $$ 2201 et seq.,

              Counterclaim Plaintiff requests the declaration of the Court that pursuant to

              the Services Agreement, Counterclaim Plaintiff is the rightful owners of the

              Best Match software and all copyrights therein
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 11 of 18 PageID #: 96




              COUNT     II: DECLARATORY RELIEF REGARDING COPYRIGHT
                             VALIDITY AND NON.INFRINGEMENT

        76.   Based on    Plaintiff   s flrling   of this suit and Defendant's Affirmative Defenses,

              an actual controversy has arisen and now exists between Counterclaim

              Plaintiff and Marta     as   to the validity of PlaintifPs registration and if it is valid,

              as to   whether Counterclaim Plaintiff s infringe Marta's copyright.

        77    Pursuant to the Federal Declaratory Judgment Act, 28 USC $$ 2201 et seq.,

              Counterclaim Plaintiff requests the declaration of the Court that Plaintiffs

              copynght registration is invalid based upon the Services Agreement and

              Plaintiffs fraud upon the Copyright Office.

        78    Pursuant to the Federal Declaratory Judgment Act, Counterclaim              Plaintiff

              requests the declaration of the Court that to the extent that Plaintiff has a valid

              copyright in the Best Match software, Counterclaim Plaintiff does not infringe

              and has not infringed any copyright of Plaintiff.

        79    Despite being fully aware of the Services Agreement and Defendant's rights

              to the BEST MATCH software, Plaintiff filed the present action in20I9.

                           COUNT       II: MALICIOUS PROSECUTION
        80    Plaintiff wrongfully initiated the present action with full knowledge of

              Defendant's rights in the BEST MATCH software and the terms of the

              Services Agreement.

        81.   Given the terms of the Services Agreement, there is no probable cause upon

              which Plaintiff could have based his complaint or causes of action.
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 12 of 18 PageID #: 97




         82.       As Plaintiff only filed for his copyright registration after the termination of his

                   employment and the Stipulation resolving the prior litigation, it is clear that

                   Plaintiff did so only for purposes of pursing this action.

        83'        Plaintiffs attempt to circumvent his the Services Agreement, pursuit of this

                   action was made with malice.

                                        PRAYER FOR RELIEF

            WHEREFORE, counterclaim Plaintiff Hil & co. prays forjudgment against

     Counterclaim Defendant Mr. Marta as follows:

            1.     For a declaration that Counterclaim-Plaintiff is the rightful legal owner of the

                   Best Match software and copyrights in same;

           2.      For a declaration that Counterclaim Defendant committed fraud against the

                   Copyright Office, and his copyright registration is invalid;

           3.      For a declaration that Counterclaim-Plaintiff has not violated any valid

                   copyright owned by Counterclaim Defendant;

           4.      that Counterclaim Defendant's filing of the present action constitutes

                   Malicious Prosecution;

           5.      That Plaintiff takes nothing by way of the First Amended complaint;

           6.      That Counterclaim Plaintiff be awarded judgment in its favor against

                   Counterclaim Defendant;

           7   '   That Counterclaim Plaintiff be awarded reasonable attomey's fees, expert

                   fees, costs and expenses as permitted by law with respect to this action; and

           8.      For such other and Further relief as the court may deem just and proper.
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 13 of 18 PageID #: 98




                                      DEMAND FOR JURY TRIAL

             In accordance with F.R.C.P. 38(b), Defendants demand        a   trial byjury on all

     issues triable for   a   jury.

     Dated: August 8,2019

                                           Respectfully submitted,

                                           By:    /s/   Jason S. Marin

                                           Wan Law Group PLLC
                                           5036 Jericho Turnpike, Suite 201
                                           Commack, New York 11725
                                           Phone: (631)-499-5400
                                           J ason@wanl aw qroup. corn

                                           Attorneysfor Defendant Hil & Company LLC
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 14 of 18 PageID #: 99




                                 EXHIBIT A
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 15 of 18 PageID #: 100




                                         s Ii   RYXJ.! r\ciBus    iu |t n{}l


           'l"his sen iccs agreenlent is lnnde hy nnd helween KIDNEYL,I*:E LLC. r.vhose addrc.s* is
   F.O. Ilox '{6t}, I}abylon" Ncw Yorli I l7$3- {hcrsi.nalicr rclbmcd tu or '"1}urchaser"); ond
   RICHARD MAR.TA, whcse adclress is 160-16 Slst Street.lloward llcnch, Ncr.v Yi:rk. 11414,,
   (hcrcinafter relerrcd lo as "Scllcr").

           Scllcr hcreby translers my flnd all rights in the sottware currently knou'n as'"llliS'I
   MATCH". {hereinafter relferved tu as "'l}re Solbvare"},lu l}urchaser, firr thc valualrlc
   consiclcretion sct {brth irr Schcdulc A. annc,rtcl l:crcrto artd ntade tr Fi}rl here*{'.

            Ilor saicl valuablc consideratiun, iieller exclusively. irrevocably ancl in perpetuity.
   transfbrs cnd assigns to Purchascr, and/rrr Ilurch&scr's ll*irs. cxccutors, administrators, successors
   and assignees" fln undivided One Hunclred llercenl { lO{}yo} intcrcst in and to the copyright,
   trirdcmark, arlil/or intellechriil propcrty rights rrf ilrr: S*li.warc, inclu*ing. hut nr;l trimited to, tlie
   exclusive rights to use, r,nodify, reproduceo distribule. liccnsc, or otherr.vise exploit" in any and all
   wey$! commercial, charitableo education*l, or otherwise, through*rut the univer:se, Seller iluly
   ncklrr-rwbdgcs that snid Softwars is crnsielcr*d a lvork-li:r-hirc, within tlrc rneaning *l lhe IJnited
   Stutcs Copyright Act.

            Thc parlics warranl ancl represent that thcy have {'ull pcrver antl authtrrity lo cntcr irrlu this
   Agreement, and is ulrcler rxr di.,;*bility or prchihition that would prcvent their obligations
   hereunder" l)ris agrccn,ent slull trc c*nstrued in accordanqe with lhc [.aws cf New Yerrk Statc.
   T'his agrecmcnl cunstitutes lhe entire undcrstanding betr.vecn the partics, and superccdcrs any and
   nll previous ngreem*nts" whether written or nral" Nn prtxlises or induc*nrents have been rnaile hy
   cither party tn the other* cxccpt as cxprcssly pravidcd hcrein. II'any provisi*n of'tlris agrccntcnt
   is lield void ar uncnforccable, it shall mit aflbct lhe snf-orceilbilitv ol"any other tenn or condiiiotr
   in this agreement. anrl shall not vuid any liability of any party to this agreemenl.


   ,II]OVE TEIIMS AGRENI) AND A{:C$PII'trI} TOI


                          ,W
   IU       KI} I}NARTA                                       fiil & Company LLC
                                                              rlY:    {** cd fil t
   llatcd: ? >          iv lu ,?                              llatcdl z I IT o{
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 16 of 18 PageID #: 101




                                           BestMatch $pecs
      1)   Fix report h€aders per discussion {also add brancting "Nationel Kidney Registry" & "Kirlneylife
           Netwark'to reparts)
               a.  Cluster Selection Report
               b.  One-way Evaluation Report

      2l   Make bridge donor propagation score exact {check antibodies}.

      3)   When user selectc "Remove Clustef ... automatically removsr cluster particiBants and rerun with
           allbridge donors.

      4|   Adda gcore for age of the donor as follows:
              a. 18 - 40 10 pts
               b.    40*449pts
               tr.   45-498 pts
               d.    50-527 pts
               e.    53-558 pts
               f.    56-585 pts
               g.    59-614 pts
               h.    02-643 pt$
               i.    65*672 ptE
               j,    S8-701pts
               k.    71+ 0 pts

      5)   Change the scoring for age compatibility as follows
              a. 10 pts 0-3
              b. 9 pts   4-5
                  8 pts  6:7
              d. 7 pts   8-9
               e.    S pls    1g-11
               f.    5 pts    12-13
               g,    4 pts    14-',15
               h.    3 pts    16-'t7
               i.    2 pts    18-19
              j.     'f pts   20-?x
               k.    0 pts    21+
               L     Enssre altrecipiants 18 nr younger ere scsred for competibllity as 1g year olds (e.g. so
                                                                                          no dlnore <1si -
                                                                                      -be
                     this scoring rnetric do6s not work against kide einc€ there will

     6)    Rewrite core for speed {let's shoot for a 10X increase) including simulation capability

     7l    Add wait tirne points
              a.   1 pt per week lor first 12 weeks
              b.   2 pts perweekforweeks 13-24
              c.   3 pts per week for weeks lF+
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 17 of 18 PageID #: 102




                                 EXHIBIT B
Case 1:19-cv-01533-DLI-ST Document 16 Filed 08/08/19 Page 18 of 18 PageID #: 103




                                    ASSIGNMENT AGRflHMINT


            This assignment agreement is made by and between HtL & COMfANY LLC
                               u'Purckassr"}
   {hereinafter refcrred to as               and KIDNEYLIFE LLC, {hcreinaftcr refurrcd'to as
   'uSeller'),

            Seller hercby transfers any and all rights in the softwarc curreffly known as "BSST
   MATCH", {hereinafter referred to ar* "The So ware"},        to Purchassr.

           For said valuable consideration, Seller exclusively, irevocably and in perpetuitSr,
   kansfers and nssigns to Purohaser, andlor Purchaser's heirs, cxccutors" adminishatomo $Hc$a$sor$
   *nd assignees, an undivided One Hundred Percent ( 100%) intercst in *nd to the copyright,
   trademark, an#or intelk:ctual property rights of the Software, includi:rg, but not limited to, ths
   exclusive righ* ro u*e, modify, rcproduce, distributc, license, nr otherwise exploit, in any and all
   way$, oor!1fi'rer$ial, chruitabh:, cdu{.:ati$nal, nr uthorwisc, thruughuut thc univcrse. Seller duly
   ackncwledg$$ thal said Software is considered a rvork-firr-hire, wittrin the meaning of the United
   Statss Copyright Act.

            The parties w&rrant and represent that they have full power and authoriry to cnter into this
   Agreement, and is under ns disability or prohibition that would prevcnt thcir obligations
   hereunder. This agreemcnt shall be canstrred in acscrdancc rvith thc laws of'New York $tate.
   This agreernent constitr,ttes the entire understanding betwcsn tlec partic.s, and supercedes any and
   all previous agrecmonts, whether written or oral. No pron:ises or inducements have been made by
   either party to lhe other, except as expressly pruvided herein. If any provision of this agrcement
   is held vcid or unenfirrseable, it shall not affcct the cnforccability tlf any other term or condition
   in this agreement, and shall not void any liability cf any party to this agrcemsnt.




   ABOVE                          AND ACCEPTED          IT]O:




                    LLC                                   HIL & COMPANY LLC
   B* 6frp6""t1t1,                                        BY; {4 nr{i" t'l/(
             I l*f,t
   Dated:                                                 Dated:
                                                                 tllltz !/"r)
